Case: 1:15-cv-04181 Document #: 1 Filed: 05/11/15 Page 1 of 7 PagelD #:1

RECEIVER’

UNITED STATES DISTRICT COURT vay
NORTHERN DISTRICT OF ILLINOIS HO Wyr2oles
EASTERN DIVISION AY 11 2015

 

THOMAS G. BRUTON
CLERK, U.S. DISTRICT COURT

 

Frank Mt; . 7

 

(Enter above the full name 15c 4181
of the plaintiff or plaintiffs in Jud
this action) ge Rebecca R. Pal Imeyer

Magistra
« Cy te Judge Jeffrey Cole
(To be supplied vy uw ya. -

 

 

OFhicey M. Hein:

(Enter above the full name of aus

defendants in this action. Do not
use "et al.")

CHECK ONE ONLY:

x * COMPLAINT UNDER THE CIVIL RIGHTS ACT, TITLE 42 SECTION 1983
U.S. Code (state, county, or municipal defendants)

COMPLAINT UNDER THE CONSTITUTION ("BIVENS" ACTION), TITLE
28 SECTION 1331 U.S. Code (federal defendants)

OTHER (cite statute, if known)

 

BEFORE FILLING OUT THIS COMPLAINT, PLEASE REFER TO "INSTRUCTIONS FOR
FILING." FOLLOW THESE INSTRUCTIONS CAREFULLY.

 
IL.

Case: 1:15-cv-04181 Document #: 1 Filed: 05/11/15 Page 2 of 7 PagelD #:2

 

Plaintiff(s):
A. Name: Frank Ortiz
B. List all aliases: |

 

Prisoner identification number: ie ZLOl5 37-0 FOB, £5 .
Place of present confinement: f2 C- Co 20) (cau Dail

Address:

mo 9

 

(If there is more than one plaintiff, then each plaintiff must list his or her name, aliases, I.D.
number, place of confinement, and current address according to the above format on a

separate sheet of paper.)

Defendant(s):
(In A below, place the full name of the first defendant in the first blank, his or her official

position in the second biank, and his or her place of employment in the third blank. Space
for two additional defendants is provided in B and C.)

  

A. Defendant:

Title: Layor of. Chicaga
Place of Employment es, by Aa ll, fe bvcage Z

B. Defendant: 7] LAY PAI

Title: geval ot Lhe <, Chicana
, £ © Le 7 7 / j

 

  
 

 

Ae

  

Place of Employment:

  

 

(If you have more than three defendants, then all additional defendants must be listed
according to the above format on a separate sheet of paper.)

2 Revised 9/2007

 

 
 

Case: 1:15-cv-0418] Document #: 1 Filed: os/ii/e Page 3 of 7 ‘ge agelD #:3

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A.A

 
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Case: 1:15-cv-04181 Document #: 1 Filed: 05/11/15 Page 4 of 7 PagelD #:4

List ALL lawsuits you (and your co-plaintiffs, if any) have filed in any state or federal
court in the United States:

Name of case and docket number: A Q ne

 

Approximate date of filing lawsuit: N, on g

List all plaintiffs (if you had co-plaintiffs), including any aliases: Ni 0 {) C

 

 

 

List all defendants: ALo 2 z.

 

 

 

 

Court in which the lawsuit was filed (if federal court, name the district; if state court,
name the county):
Name of judge to whom case was assigned: Ay a Y} 2.

Basic claim made: A, Of) é

 

 

 

Disposition of this case (for example: Was the case dismissed? Was it appealed?

Is it still pending?):
WAY

Approximate date of disposition: N [ A

t

 

 

IF YOU HAVE FILED MORE THAN ONE LAWSUIT, THEN YOU MUST DESCRIBE THE
ADDITIONAL LAWSUITS ON ANOTHER PIECE OF PAPER, USING THIS SAME
FORMAT. REGARDLESS OF HOW MANY CASES YOU HAVE PREVIOUSLY FILED,
YOU WILL NOT BE EXCUSED FROM FILLING OUT THIS SECTION COMPLETELY,
AND FAILURE TO DO SO MAY RESULT IN DISMISSAL OF YOUR CASE. CO-
PLAINTIFFS MUST ALSO LIST ALL CASES THEY HAVE FILED.

3 Revised 9/2007

 
Case: 1:15-cv-04181 Document #: 1 Filed: 05/11/15 Page 5 of 7 PagelD #:5

IV. Statement of Claim:

State here as briefly as possible the facts of your case. Describe how each defendant is
involved, including names, dates, and places. Do not give any legal arguments or cite any
cases or statutes. If you intend to allege a number of related claims, number and set forth.
each claim in a separate paragraph. (Use as much space as you need. Attach extra sheets
if necessary.)

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Cook County Zoi 1G # 20/3- br01b 5 2D

4 Revised 9/2007
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V. Relief:

State briefly exactly what you want the court to do for you. Make no legal arguments. Cite
no cases or statutes.

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VI. The plaintiff demands that the case be tried by a jury. x YES O NO

CERTIFICATION
By signing this Complaint, I certify that the facts stated in this
Complaint are true to the best of my knowledge, information and

belief. I understand that if this certification is not correct, I may be
subject to sanctions by the Court.

Signed this , — day of ey » 207

. (Signature Ly plaintifT or ALL

LRA LE

(Print name)

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(Address)

6 Revised 9/2007

 

 
